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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE


 VoiceAge EVS LLC, a Delaware
 limited liability company,

                           Plaintiff,        Case No. 19-cv-1945-GBW

      v.

 HMD Global Oy,

                          Defendant.


                PLAINTIFF’S NOTICE OF DEPOSITION OF
                     SERGIO SERAFIN ALVAREZ

      PLEASE TAKE NOTICE that pursuant to Rule 30 of the Federal Rules of

Civil Procedure, Plaintiff VoiceAge EVS LLC, by its counsel, will take a deposition

upon oral examination of Sergio Serafin Alvarez as an individual pursuant to Rule

30(b)(1) and as representative of HMD Global Oy pursuant to Rule 30(b)(6).

      The deposition will commence on March 23, 2023 at 9:00 a.m. (Eastern Time)

at the JW Marriott Marquis Miami, 255 Biscayne Blvd Way, Miami, FL, or at

another time and location agreed upon by the parties or ordered by the Court. The

deposition will be recorded by stenographic means, audio recording, video recording

and/or real-time transcription, and will continue day-to-day, weekends and legal

holidays excluded, until completed.



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Dated: March 7, 2023                 Respectfully submitted,

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